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14                       IN THE UNITED STATES DISTRICT COURT
15                            FOR THE DISTRICT OF ARIZONA
16
17   United States of America,                                CR-18-422-PHX-SMB

18                        Plaintiff,                   UNITED STATES’ MOTION TO
                                                         EXTEND DEADLINE FOR
19            v.                                       RESPONSE TO DEFENDANTS’
                                                       MOTION TO COMPEL (Doc. 643)
20   Michael Lacey, et al.,
21                        Defendants.
22
23         The United States respectfully moves for a 12-day extension of time, from July 3 to
24   July 15, 2019, in which to file its response to Defendants’ Motion to Compel (Doc. 643).
25   The government will not object to a commensurate extension for Defendants’ reply in
26   support of the motion. A proposed form of Order is attached.
27         Counsel for the United States has conferred with defense counsel Whitney Bernstein
28   and Tom Bienert, who indicated that Defendants object to the extension. Defendants didn’t
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 1   express any direct objection, but made their non-opposition contingent on two separate
 2   agreements. First, Defendants asked that the government agree not to object to a similar
 3   extension for Defendants to file their reply in support of the Motion to Compel. The
 4   government has no issue agreeing to this request.
 5         Defendants’ second condition, however, was that the government agree not to
 6   oppose Defendants’ requests to: (a) extend the deadline for their reply in support of the
 7   Motion to Dismiss (Doc. 561) from July 3 to July 17, 2019; and (b) extend the length of
 8   that reply from 20 to 30 pages. Defendants cited the recent amicus filing and upcoming
 9   Ninth Circuit argument on July 9, 2019 as reasons for these requests. For several reasons,
10   the government opposes both of these requests.
11         First, on June 19, 2019, Defendants filed an unopposed motion to extend by two
12   weeks the deadline for their reply in support of their Motion to Dismiss (Doc. 642). This
13   filing occurred after the amici filing (Doc. 641). The government had no issue agreeing to
14   this two-week extension when Defendants requested it on June 19. The government is
15   confused, however, why less than 24 hours after filing a request for a two-week extension,
16   Defendants need another two weeks for their reply, especially when Defendants have long
17   known about the Ninth Circuit argument, and Defendants had received the amici brief
18   before filing their first extension request. Because there aren’t any changed circumstances
19   that would support a second two-week extension, the government opposes this request.
20   Further, the Court has already ordered that Defendants’ reply brief be limited to 20 pages—
21   and recently reaffirmed its Order. (See Doc. 573 (“affirming Court’s previous order”
22   allowing Defendants to file a 20-page reply).)
23         Excludable delay under 18 U.S.C. § 3161(h) may occur as a result of this motion or
24   an order based thereon.
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 1          Respectfully submitted this 21st day of June, 2019.
 2
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 4
                                              s/Andrew C. Stone
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16
17
18
                                 CERTIFICATE OF SERVICE
19
20          I hereby certify that on June 21, 2019, I electronically transmitted the attached
21   document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
22   Notice of Electronic Filing to the CM/ECF registrants who have entered their appearance
23   as counsel of record.
24
     s/ Cristina Abramo
25   Cristina Abramo
     U.S. Attorney’s Office
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